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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

WEBBER, LLC and ARCH INSURANCE                    §
COMPANY                                           §
                                                  §
       Plaintiff                                  §
                                                  §
                                                          CIVIL ACTION NO. 3:19-cv-00610
UNITED FIRE & CASUALTY                            §
COMPANY                                           §
                                                  §
       Defendant.                                 §

                      JOINT RULE 41 STIPULATION OF DISMISSAL

       Webber, LLC (“Webber”) and Arch Insurance Company (“Arch”), collectively,

“Plaintiffs,” and United Fire & Casualty Company (“UFCC”) file this their Joint Rule 41

Stipulation of Dismissal with Prejudice.

       This lawsuit concerns the Plaintiffs’ claim for reimbursement of expenses incurred in

defense and settlement of a lawsuit styled Christopher Bailey, et al v. Statewide Trucking Corp.,

et al; Cause No. DC-17-11460 in the 14th Judicial District Court of Dallas County, Texas

(“Underlying Lawsuit”).

        The parties have reached a resolution of Plaintiffs’ claims, and agree that this lawsuit

should be dismissed with prejudice.

       Federal Rule of Civil Procedure 41 provides that an action may be dismissed by the filing of

“a stipulation of dismissal signed by all parties who have appeared.” FED. R. CIV. P. 41(a)(1)(ii); see

also Yesh Music v. Lakewood Church, 727 F.3d 356, 362 (5th Cir. 2013). A court order is not

necessary when the parties to the lawsuit file a stipulation of dismissal under Rule 41(a)(1)(ii). Yesh

Music, 727 F.3d at 362.




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       Webber, Arch, and UFCC jointly stipulate that all of the claims asserted against UFCC

herein shall be dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii).

       WHEREFORE the parties pray the Court take notice of this Joint Rule 41 Stipulation of

Dismissal with Prejudice, dismiss all claims asserted in this lawsuit, and grant the parties any

other and further relief, at law or in equity, to which they are entitled.


                                               Respectfully submitted,


                                                /s/ Chris Deeves_________________________
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                                               CASUALTY COMPANY



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                               CERTIFICATE OF SERVICE


       I hereby certify that on April 24, 2020, a true and correct copy of the foregoing document

was served via the Court’s CM/ECF system upon all counsel of record.



                                            /s/ Lori Murphy
                                            Lori Murphy




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